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Attorney for Defendant
GARY ROBERTS


                     IN THE UNITED STATES DISTRICT COURT

             IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                       )   Case No.: 2:17-CR-00064 JAM
                                                )
                      Plaintiff,                )   STIPULATION AND [PROPOSED] TO
                                                )   VACATE THE HEARING SCHEDULED
       vs.                                      )   FOR JUNE 16, 2017
                                                )
GARY ROBERTS,                                   )
                                                )
                      Defendant.                )
                                                )
                                                )

       IT IS HEREBY STIPULATED by and between the parties through their respective
counsel, Etan Zaitsu, attorney for defendant Gary Roberts, and Ross Naughton, Assistant
United States Attorney, that the previous scheduled hearing on June 16, 2017 be vacated.
       At this time Mr. Roberts is not contesting his remand order. Additionally, counsel for
Mr. Roberts requested but has not received approval pursuant to Subsection (a) (3) of the
Criminal Justice Act (Title 18 U.S.C. Section 3006A) to obtain the services of a toxicologist to
review the findings and analysis of to Alere Toxicology Services regarding Mr. Roberts urine
samples.
       Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
       IT IS SO STIPULATED




Request to Vacate Hearing                                                                    1
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Dated: June 13, 2017                                /s/ Etan Zaitsu
                                                    ETAN ZAITSU
                                                    Attorney for Defendant
                                                    GARY ROBERTS

Dated: June 12, 2017                                /s/ Ross Naughton
                                                    ROSS NAUGHTON
                                                    Assistant U.S. Attorney


                                   [PROPOSED] ORDER
       The Court, having received, read, and considered the stipulation of the parties, adopts
the stipulation of the parties in its entirety as its order. Having adopted the stipulation, the
Court hereby orders that the June 16, 2017 hearing be vacated.
       IT IS SO ORDERED.


Dated: June 14, 2017.                        ______________________________________
                                             THE HONORABLE EDMUND F. BRENNAN
                                             United States Magistrate Judge




Request to Vacate Hearing                                                                   2
